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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11    ANTHONY SPOSATO,                         Case No. 5:20-cv-00835-SVW-KES
12          Plaintiff,
13    v.                                                JUDGMENT
14    MONA HOUSTON, Warden, et al.,
15          Defendants.
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18         Pursuant to the Court’s Order Accepting Report and Recommendation of U.S.
19   Magistrate Judge,
20         IT IS ADJUDGED that the Complaint and entire action is dismissed without
21   prejudice for failure to prosecute.
22
23   DATED: ___________________
              October 21, 2020             ____________________________________
24                                         STEPHEN V. WILSON
                                           UNITED STATES DISTRICT JUDGE
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